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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
 
 

    NATIONAL VETERANS LEGAL
    SERVICES PROGRAM, et al.,
                   Plaintiffs,

                  v.                                     Civil Action No. 16-745 (ESH)

    UNITED STATES OF AMERICA,

                         Defendant.



                                            ORDER

         For the reasons stated in an accompanying Memorandum Opinion, ECF No. 89, it is

hereby

         ORDERED that plaintiffs’ motion for summary judgment as to liability, ECF No. 52, is

DENIED; and it is further

         ORDERED that defendant’s cross-motion for summary judgment as to liability, ECF

No. 73, is GRANTED IN PART AND DENIED IN PART; and it is further

         ORDERED that the parties shall confer and file a Joint Status Report with a proposed

schedule for further proceedings by April 16, 2018; and it is further

         ORDERED that a Status Conference is scheduled for April 18, 2018, at 3:00 p.m. in

Courtroom 23A.



                                                     /s/ Ellen Segal Huvelle
                                                     ELLEN SEGAL HUVELLE
                                                     United States District Judge

Date: March 31, 2018
